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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE



SYMBOLOGY INNOVATIONS, LLC,            )
                                       )
                   Plaintiff,          )
                                       )   C.A. No. ___________________
     v.                                )
                                       )
CONAGRA BRANDS, INC.,                  )   JURY TRIAL DEMANDED
                                       )
                   Defendant.          )




          Conagra brand Duncan Hines® promoting its infringing QR code




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           ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

      1.     Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and

through its counsel, hereby brings this action for patent infringement against

Conagra Brands, Inc. (“Conagra” or “Defendant”) alleging infringement of the

following validly issued patent (the “Patent-in-Suit”): U.S. Patent No. 8,424,752,

titled “System and method for presenting information about an object on a

portable electronic device” (the “ʼ752 Patent”), attached hereto as Exhibit A.

                           NATURE OF THE ACTION

      2.     This is an action for patent infringement arising under the United

States Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.

                                     PARTIES

      3.     Plaintiff Symbology Innovations, LLC is a Texas company with its

principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

      4.     On information and belief, Defendant Conagra Brands, Inc. is a

company organized under the laws of Delaware and may be served by its

registered agent The Prentice-Hall Corporation System, Inc., 251 Little Falls Drive,

Wilmington, DE 19808.

                          JURISDICTION AND VENUE

      5.     This lawsuit is a civil action for patent infringement arising under the

patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-

matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

      6.     The Court has personal jurisdiction over Defendant for the following

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reasons: (1) Defendant is present within or has minimum contacts within the State

of Delaware and the District of Delaware; (2) Defendant has purposefully availed

itself of the privileges of conducting business in the State of Delaware and in the

District of Delaware; (3) Defendant has sought protection and benefit from the

laws of the State of Delaware; (4) Defendant regularly conducts business within

the State of Delaware and within the District of Delaware, and Plaintiffʼs cause of

action arises directly from Defendantʼs business contacts and other activities in

the State of Delaware and in the District of Delaware; (5) Defendant is

incorporated in Delaware and has purposely availed itself of the privileges and

benefits of the laws of the State of Delaware; and (6) Defendant has designated

The Prentice-Hall Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE

19808 as its representative for service of process within the State of Delaware.

      7.    Defendant, directly and/or through intermediaries, ships, distributes,

uses, offers for sale, sells, and/or advertises products and services in the United

States, the State of Delaware, and the District of Delaware including but not

limited to the products which contain the infringing ʼ752 Patent systems and

methods as detailed below. Upon information and belief, Defendant has

committed patent infringement in the State of Delaware and in the District of

Delaware; Defendant solicits and has solicited customers in the State of Delaware

and in the District of Delaware; and Defendant has paying customers who are

residents of the State of Delaware and the District of Delaware and who each use

and have used the Defendantʼs products and services in the State of Delaware

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and in the District of Delaware.

        8.     Venue is proper in the District of Delaware pursuant to 28 U.S.C. §§

1400(b). Defendant is incorporated in this district, has transacted business in this

district, and has directly and/or indirectly committed acts of patent infringement

in this district.




                                   PATENT-IN-SUIT

        9.     The Patent-in-Suit teaches systems and methods for enabling a

portable electronic device (e.g., smartphone) to retrieve information about an

object when the objectʼs symbology (e.g. QR code) is detected.

                      SUMMARY OF INFRINGING ACTIONS

        10.    Conagra boasts many iconic brands such as Orville Redenbacherʼs®,

Duncan Hines®, Healthy Choice®, Marie Callendarʼs®, Huntʼs®, Slim Jim®, PAM®,

Orville Redenbacherʼs®, Chef Boyardee®, Hungry-Man®, La Choy®, Earth

Balance®, and others. See Ex. 1.

        11.    In order to achieve “great margins and consistent results” with these

household      brands,   Conagra     “persistently   challenge[s]   and   disrupt[s]

marketplace/business conventions” by “leveraging fresh opportunities and

adapting to a changing landscape.” See Ex. 2. One way that Conagra achieves


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“great margins and consistent results” is through its use of QR code system. Id.

       12.   For example, in 2011 as part of its “Bake On” campaign, the Conagra

brand Duncan Hines® shifted its “brand from having a demographic target of

mothers to a psychographic target of people who love to bake—including men

who love to bake and young singles who love to bake.” See Ex. 3 (internal quotes

omitted). Duncan Hinesʼ® strategy to enlarge its demographic included

incorporating “content accessible by scanning a mobile bar code, or QR code,

featured in television and print ads.” See Ex. 3.




              Duncan Hines® advertisement promoting the QR code.

       13.   In addition to using QR codes to increase its market reach, Conagra

has teamed up with SmartLabelTM to provide QR codes on its products in order to

“respond[] to the customerʼs demand for transparency,” “comply[] with new

labeling mandates,” and “capitaliz[e] on the rise of grocery e-commerce.” See

CONAGRA PAVES THE WAY FOR BRANDS ON SMARTLABEL, Ex. 4; see also Ex. 5.
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             Conagraʼs Huntʼs brand using the SmartLabel QR code.
      14.   Conagraʼs Heinz® brand has employed QR codes to achieve buy-in

from its customer base. For instance, Heinz® announced it “is committed to

utilizing he best technology and innovations available to be as environmentally

responsible as possible.” See Ex. 6. This environmental effort “celebrates not only

what Heinz is doing to be more sustainable, but also how everyone can do their

part to live a more eco-conscious lifestyle.” See Ex. F. In order to help everyone

do their part, the Heinz PlantBottle utilized “a quick response (QR) code that . . .

let diners promise to be more environmentally responsible.” See Ex. 6.

      15.   Conagra has taken advantage of QR codes in other ways as well. The

Conagra Orville Redenbacher® brand achieved its “highest revenue in years” in

part by “simplify[ying] the brandʼs message” and “extending it via QR code.” See

Ex. 7. And Conagra brand Heinz® promoted a contest to “encourag[e] ketchup

fans to share how they enjoy Heinz products.” See Ex. 8.

                                 COUNT I
               (Infringement of U.S. Patent No. 8,424,752)

      16. Plaintiff incorporates by reference the allegations of paragraphs 1-15,
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the same as if set forth herein.

       17.   The ʼ752 Patent is valid, enforceable, and was duly and legally issued

by the United States Patent and Trademark Office (“USPTO”) on April 23, 2013.

The ʼ752 Patent is presumed valid and enforceable. See 35 U.S.C. § 282.

       18.   Plaintiff is the owner by assignment of the ʼ752 Patent and possesses

all rights of recovery under the ʼ752 Patent, including the exclusive right enforce

the ʼ752 Patent and pursue lawsuits against infringers.

       19.   Without a license or permission from Symbology, Defendant has

infringed and continues to infringe on one or more claims of the ʼ752 Patent—

directly, contributorily, and/or by inducement—by importing, making, using,

offering for sale, or selling products and devices that embody the patented

invention, including, without limitation, one or more of the patented ʼ752 systems

and methods, in violation of 35 U.S.C. § 271.

       Direct Infringement

       20.   Defendant has been and now is directly infringing by, among other

things, practicing all of the steps of the ʼ752 Patent, for example, through internal

testing, quality assurance, research and development, and troubleshooting. See

Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 775 (Fed.Cir. 1993); see also 35 U.S.C. §

271 (2006). For instance, Defendant has directly infringed the Patent-in-Suit by

testing, configuring, and troubleshooting the functionality of QR codes on its

products and services.

       21.   By way of example, Defendant has infringed and continues to infringe

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on at least one or more claims, including at least Claim 1 of the ʼ752 Patent which

teaches:

             A method comprising:
               capturing a digital image using a digital image capturing
                 device that is part of a portable electronic device;
               detecting symbology associated with an object within the
                 digital image using a portable electronic device;
               decoding the symbology to obtain a decode string using
                 one or more visual detection applications residing on
                 the portable electronic device;
               sending the decode string to a remote server for
               processing:
               receiving information about the object from the remote
                 server wherein the information is based on the decode
                 string of the object.
               displaying the information on a display device associated
                 with the portable electronic device.

       22.   On information and belief, at least through testing, quality assurance,

and/or troubleshooting, Defendant employs a method wherein a digital image (i.e.,

“QR code”) associated with its products is captured by the camera of a portable

electronic device (i.e., a smartphone or tablet) (“capturing a digital image using a

digital image capturing device that is part of a portable electronic device”). For

example, Defendant has teamed up with SmartLabel® to provide QR code

technology on the products sold by its various brands. See Figures 1, 2, and 3;

Exs. 4, 5, and 9.




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               Figure 1                 Figure 2                 Figure 3

      23.    On information and belief, Defendant uses a smartphone, tablet, or

similar device to detect symbology (i.e., the QR code) associated with an object,

such as the Defendantʼs infringing product (“detecting symbology associated with

an object within the digital image using a portable electronic device”).




                                       Figure 4


      24.    On information and belief, Defendant uses a smartphone, tablet, or

similar device to decode the symbology to obtain a decode string (i.e., hyperlink)

using the visual detection application residing in the smartphone or tablet


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(“decoding the symbology to obtain a decode string using one or more visual

detection applications residing on the portable electronic device”). For example, a

smartphone detects the symbology of the QR code on Defendantʼs product and

decodes the digital image captured on the smartphone camera to produce a

decoded hyperlink as shown in the figures below. The decoded string is sent to a

remote server for processing as shown in Figure 5 (“sending the decode string to

a remote server for processing”).




                                     Figure 5

      25.   On information and belief, after clicking the hyperlink obtained by

scanning the QR code associated with the product, the smartphone receives

information about the product from a remote server. (“receiving information about

the object from the remote server wherein the information is based on the decode

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string of the object”). The information is received and displayed on the

smartphone as shown in Figure 6 below (“displaying the information on a display

device associated with the portable electronic device”). For example, a remote

server is contacted with information about Defendantʼs product embedded in a

QR code, and the remote server responds with additional information about that

product. See Figures 1, 2, and 3; Exs. 4, 5, and 9.




                                      Figure 6

       Induced Infringement

       26.   Defendant has been and now is indirectly infringing by way of

inducing infringement by others and/or contributing to the infringement by others

of the ʼ752 Patent in the State of Wisconsin, in this judicial District, and elsewhere

in the United States, by, among other things, making, using, offering for sale,

and/or selling, without license or authority, products affixed with QR codes that

require the accused technology for intended functionality, testing, configuration,

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troubleshooting, and other utilization. End users include, for example, customers,

customersʼ customers, retail store personnel, and other third-parties.

       27.     Defendant took active steps to induce infringement, such as

advertising an infringing use, which supports a finding of an intention. See Metro-

Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may

be presumed from distribution of an article in commerce that the distributor

intended the article to be used to infringe another's patent, and so may justly be

held liable for that infringement").

       28.     The allegations herein support a finding that Defendant induced

infringement     of   the   ʼ752   Patent.   See   Power   Integrations    v.   Fairchild

Semiconductor, 843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed

induced infringement verdicts based on circumstantial evidence of inducement

[e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

customers, end users] without requiring hard proof that any individual third-party

direct infringer was actually persuaded to infringe by that material.”).

       Induced Infringement

       29.     Defendant has been and now is indirectly infringing by way of

inducing infringement by others and/or contributing to the infringement by others

of the ʼ752 Patent in the State of Delaware, in this judicial District, and elsewhere

in the United States, by, among other things, making, using, offering for sale,

and/or selling, without license or authority, products affixed with QR codes that

require the accused technology for intended functionality, testing, configuration,

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troubleshooting, and other utilization. End users include, for example, customers,

customersʼ customers, retail store personnel, and other third-parties.

       30.     Defendant took active steps to induce infringement, such as

advertising an infringing use, which supports a finding of an intention. See Metro-

Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may

be presumed from distribution of an article in commerce that the distributor

intended the article to be used to infringe another's patent, and so may justly be

held liable for that infringement").

       31.     The allegations herein support a finding that Defendant induced

infringement     of   the   ʼ752   Patent.   See   Power   Integrations    v.   Fairchild

Semiconductor, 843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed

induced infringement verdicts based on circumstantial evidence of inducement

[e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

customers, end users] without requiring hard proof that any individual third-party

direct infringer was actually persuaded to infringe by that material.”).

       Contributory Infringement

       32.     On information and belief, Defendant contributorily infringes on

Symbologyʼs ʼ752 Patent. Defendant knew or should have known, at the very least

as a result of its freedom to operate analyses, that third parties, such as its

customers, would infringe the ʼ752 Patent by implementing Defendantʼs QR code

technology.

       33.     On information and belief, Defendantʼs implementation of the

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accused functionality has no substantial non-infringing uses. See, e.g., Lucent

Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that

the “substantial non-infringing use” element of a contributory infringement claim

applies to an infringing feature or component, and that an “infringing feature” of a

product does not escape liability simply because the product as a whole has other

non-infringing uses).

      Willful Infringement

      34.   On information and belief, the infringement of the ʼ752 Patent by

Defendant has been and continues to be willful. Defendant has had actual

knowledge of Symbologyʼs rights in the ʼ752 Patent and details of Defendantʼs

infringement based on at least the filing and service of this complaint.

Additionally, Defendant had knowledge of the ʼ752 Patent and its infringement in

the course of Defendantʼs due diligence and freedom to operate analyses.

      Plaintiff Suffered Damages

      35.   Defendantʼs acts of infringement of the ʼ752 Patent have caused

damage to Symbology, and Symbology is entitled to recover from Defendant the

damages sustained as a result of Defendantʼs wrongful acts in an amount subject

to proof at trial pursuant to 35 U.S.C. § 271. Defendantʼs infringement of

Symbologyʼs exclusive rights under the ʼ752 Patent will continue to damage

Symbology causing it irreparable harm for which there is no adequate remedy at

law, warranting an injunction from the Court.

                             REQUEST FOR RELIEF

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      36.   Symbology incorporates each of the allegations in the paragraphs

above and respectfully asks the Court to:

      (a)   enter a judgment that Defendant has directly infringed, contributorily

      infringed, and/or induced infringement of one or more claims of each of the

      ʼ752 Patent;

      (b)   enter a judgment awarding Symbology all damages adequate to

      compensate it for Defendantʼs infringement of, direct or contributory, or

      inducement to infringe, the including all pre-judgment and post-judgment

      interest at the maximum rate permitted by law;

      (c)   enter a judgment awarding treble damages pursuant to 35 U.S.C. §

      284 for Defendantʼs willful infringement of the ʼ752 Patent

      (d)   issue a preliminary injunction and thereafter a permanent injunction

      enjoining and restraining Defendant, its directors, officers, agents, servants,

      employees, and those acting in privity or in concert with them, and their

      subsidiaries, divisions, successors, and assigns, from further acts of

      infringement, contributory infringement, or inducement of infringement of

      the ʼ752 Patent;

      (e)   enter a judgment requiring Defendant to pay the costs of this action,

      including all disbursements, and attorneysʼ fees as provided by 35 U.S.C. §

      285, together with prejudgment interest; and

      (f)   award Symbology all other relief that the Court may deem just and

      proper.

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Dated: June 2, 2019               Respectfully submitted,


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